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EXHIBIT B

Proposed Order

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Xx
Inre Chapter 11
Nortel Networks Inc., et al.,° Case No. 09-10138 (KG)
Debtors. Jointly Administered
: Re: DIL
x

ORDER PURSUANT TO 11 U.S.C. § 327(e) AUTHORIZING THE RETENTION AND
EMPLOYMENT OF JACKSON LEWIS LLP AS COUNSEL OF RECORD FOR THE
DEBTORS NUNC PRO TUNC_ TO JANUARY 14, 2009

Upon the application dated February 13, 2009 (the “Application”)’ of Nortel Networks
Inc. and its affiliated debtors, as debtors and debtors in possession in the above-captioned cases
(the “Debtors”), for entry of an order, as more fully described in the Application, (i) authorizing
them to employ and retain, pursuant to Sections 327(e) and 331 of Title 11 of the United States
Code (the “Bankruptcy Code’), Rules 2014(a) and 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Rules 2014-1 and 2016-1 of the Local Bankruptcy

Rules for the United States Bankruptcy Court for the District of Delaware (the “Local

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax
identification number, are: Nortel Networks Inc. (6332), Nortel Networks Capital
Corporation (9620), Alteon WebSystems, Inc. (9769), Alteon WebSystems International,
Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251),
CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846),
Nortel Networks Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546),
Architel Systems (U.S.) Corporation (3826), Nortel Networks International Inc. (0358),
Northern Telecom International Inc. (6286) and Nortel Networks Cable Solutions Inc.
(0567). Addresses for the Debtors can be found in the Debtors’ petitions, which are
available at http://chapter1 1 .epiqsystems.com/nortel.

Capitalized terms used but not defined herein shall have the meaning ascribed to them in
the Application.

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Bankruptcy Rules”), the labor and employment law firm of Jackson Lewis LLP (“Jackson

Lewis”) as their counsel of record, (ii) approving the terms and conditions under which Jackson
Lewis will be retained and compensated, and (iii) and granting them such other and further relief
as the Court deems just and proper; and upon consideration of the Declaration of René E.
Thorne, attached to the Application as Exhibit A; and the Court being satisfied that Jackson
Lewis does not represent an interest adverse to the Debtors in the matters with respect to which it
is to be employed; and notice of the Application being sufficient and proper under the
circumstances; and sufficient cause appearing therefor;
IT IS HEREBY ORDERED THAT:

1. The Application is GRANTED.

2. Pursuant to Sections 327(e) and 331 of the Bankruptcy Code, the Debtors
are authorized to employ and to retain Jackson Lewis, as of January 14, 2009, to serve as their
counsel of record.

3. Jackson Lewis shall be compensated in accordance with the procedures
and standards set forth in sections 330 and 331 of the Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, the Local Rules of the United States Bankruptcy Court for the District of
Delaware, and such other procedures as may be fixed by Order of this Court.

4. Jackson Lewis is authorized to perform any and all services for the Debtors
that are necessary or appropriate in connection with the services described in the Application.

5. Insurers, including Chubb Insurance Company of Canada, with policies
related to the matters upon which Jackson Lewis is providing services to the Debtors are
authorized to compensate Jackson Lewis and reimburse Jackson Lewis’s expenses consistent

with the terms of any applicable insurance policies or other agreements and/or arrangements with

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the Debtors and Jackson Lewis without any further order of the Court, and the automatic stay set
forth in section 362(a) of the Bankruptcy Code is hereby amended solely to the extent necessary
to allow such payments to be made.

6. Notwithstanding any provision in the Federal Rules of Bankruptcy Procedure
to the contrary, (i) the terms of this Order shall be immediately effective and enforceable upon its
entry, (ii) the Debtors are not subject to any stay in the implementation, enforcement or
realization of the relief granted in this Order, and (iii) the Debtors may, in their discretion and
without further delay, take any action and perform any act authorized under this Order.

7. The Court shall retain jurisdiction to hear and determine all matters rising
from the implementation of this Order.

Dated: , 2009
Wilmington, Delaware

THE HONORABLE KEVIN GROSS
UNITED STATES BANKRUPTCY JUDGE

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